UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

 

IN RE: :
David Edenbaurn : Chapter 13

Debtor (s) : Case No.: 17-18428-ABA

MO'I`ION TO VOLUNTARILY DISMISS CHAPTER 13
BANKRUPTCY MATTER

l. The instant Chapter 13 Bankruptcy Matter Was filed on or about April 26,
2017.

2. The instant case Was assigned case number 17-18428»ABA.
3. The Chapter 13 Plan Was not confirmed by this Honorable_ Court.

4. The Debtor is desirous of voluntary dismissing the instant Chapter 13
Bankruptcy matter under 11 U.S.C. Section 1307(13)

5. The Debtor is aware that she Will be precluded from a subsequent bankruptcy
filing for 180 days from the date an Order granting Voluntary Disrnissal is
signed

6. There are no pending Motions for Relief from the Automatic Stay or other
Motions for Dismissal pending at the time of the filing the instant Motion.

Dated: July 26, 2017 /s/Brad J. Sadek: Esg
Brad J. Sadek, Esq.
Sadek and Cooper Law Offices
Attorney for Debtor
1315 Walnut Street
Suite #5()2
Philadelphia, PA 19107

